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     April 2, 2023                                             •'

                                                                        APR / 7 2023
     Dear Judge Parker,                                             Wendy R Oliver, Clerk
                                                                      U.S. District Court
                                                                    W.D. OF TN, ·Memohls

     I read that you put a temporary order to stop Tennessee's law
     to prevent 'drag queens' from performing with young people.

     I disagree with the 'stop' order. Tlle reason: This whole _
     subject area1s twisted.- --The            very
                                        young know nothing about
     sex nor should they. This drag queen stuff introduces them to
     something that is not normal. It is the beginning of
     indoctrinating them with the id~a that they can change their
     gender.
        ';·_·,.     '·,'


     Tliis·i~just the peginning. _.,In many scµoolsthey,areta1.:Lght -
     that" they ca11 'alter 'their birth gender through· chemicals and
     surgery. Why int~oduce the idea in the frrst place~ All this
     stuff is perverted.

     Many kids think they want to be a cowboy, or frreman, or
     astronaut when they grow up only to change their minds - -
     when they mature.

     Judge, this whole subject goes against science, common
     sense and against God's creation. Part of this trans. stuff: ..
     M~p.        t11.:women's_ sports _ is· laughable
      '·1;_; ,_' ;_,_.. : ·. : . ' ·._ .·' . . . '.' . .- . ' .
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     pace. ·                                · ·
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     The Tennessee Legislature and Governor Lee made the
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 correct and right decision to not allow drag queen shows in
 any form with young children~
                                                                I




 Judge, I guess what I'm really saying: What were you
 thinking? Would you want your 3-4-5 year old children or
 grandchildren to watch men in heavy makeup ai;id women's
 clothing pretending to be women parade around your
 children?

 Please reverse yourself on this.

 Kindl~\,         .. \
. ~-.   ~~ Q . Y Y \ ~
 ~Wideman
 931-212-5088


 CC: Tennessee Legislature
     Gov. Bill Lee
     Senator Janice Bowling
     Southern·Standard News Paper
     The Tennessean News Paper
